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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

JACOB SANCHEZ,

            Plaintiff,

v.                                                        CV No. 19-196 RB/CG

ISAIAH BAKER, et al.,

            Defendants.

            ORDER VACATING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court on notice that this case has settled. See (Doc.

60). IT IS THEREFORE ORDERED that the telephonic Status Conference set for

Wednesday, October 7, 2020, is hereby VACATED.

      IT IS SO ORDERED.




                                THE HONORABLE CARMEN E. GARZA
                                CHIEF UNITED STATES MAGISTRATE JUDGE
